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FII.ED B'r’ w_`____ D_C_
UNITED STATES DISTRICT COURT 05 aug 25 PH 3: 26
WESTERN DISTRICT OF TENNESSEE
Western Division TH@M;.§ h wm
cita;<.i_: s “ “
U-NITED STATES OF AMERICA i*#',@ =§’E
_vs.. Case No. 2:05cr20291~001B
JAMES TAYLOR BANKS

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above»named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Coui“t makes the following appointment pursuant to the Criminal Justice Aet (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

- The Fedcra] Public Defender is appointed as counsel for the Defendant. Defendant to pay
$200 per month into the registry of this court to help offset the cost of his counsel.

TYPE OF APPOINTMENT
' All purposes including trial and appeal

DONE and ORDERED in 167 North Main, Memphis, TN, this 25th day of August, 2005.

<§-/70)')4#~4 @,._/

S THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
lntake

JAMES TAYLOR BANKS

 

   

UNITED STASTE DISTRICT OURT - ESTERN DISITRCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CR-20291 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

PDA

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l\/lemphis7 TN 38103

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

